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                                IN THE UNITED STATES DISTRICT COURT"·                        (trrt L...-!~lL\-~~­
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

             PORFIRIO AYALA-CASTANEDA         I                    MOTION TO VACATE
             BOP No. 60695-019 1                                   28 U.S.C. § 2255
                  Movant   I

                                                                   CIVIL ACTION NO.
                    v.                                             1:12-CV-1757-0DE

             UNITED STATES OF AMERICA         I                    CRIMINAL ACTION NO.
                  Respondent.                                      1:09-CR-64-1-0DE

                                                          ORDER

                    This matter is before the Court on Porfirio Ayala-Castaneda/s

             Motion Under 28 U.S.C.               §   2255 to Vacate          l    Set Aside or Correct

             Sentence by a Person in Federal Custody                              [Doc.   157]1       Magistrate

             Judge E.    Clayton Scofield III/s Final Report and Recommendation

             recommending denial of that motion ("Final R&RII)                            [Doc. 158]    I    Ayala-

             Castaneda/s Motion for Leave to Supplement His 28 U.S.C.                                        §   2255

             Filed in This District Court [Doc. 159]                     I   Ayala-Castaneda/s Motion

             for a Time Extention [sic] to Prepare the Needed Response Brief to

             the Magistrate/s Report and [R]ecommendation [Doc. 160]                              I   and Ayala-

             Castaneda/s Objections to the Report & Recommendation of the United

             State Magistrate Judge          [Doc.         162].     Ayala-Castaneda/s motion to

             supplement his      §   2255 motion and his motion for an extension of

             time to submit objections are GRANTED nunc pro tunc.                                           For the

             reasons that follow      l   however     I   Magistrate Judge Scofield/s Final R&R

             will   be   adopted     and approved            as    the       order of       this      Court       (as




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             supplemented by this Order), Ayala-Castaneda's                         §   2255 motion will

             be denied, and no certificate of appealability will be issued.

                     A district     judge        has   a     duty    to    conduct      a     "careful       and

             complete" review of a magistrate judge's Final R&R.                               Williams v.

             Wainwright, 681 F.2d 732, 732 (11th Cir. 1982)                      (internal quotation

             marks and citation omitted).                  Those portions of the Final R&R that

             are not objected to need only be reviewed for clear error.                                Macort

             v.    Prem,   Inc.,   208 F. App'x 781,               784    (11th Cir.        2006).1        Where

             obj ections     are   made,     a    district         judge    "shall      make    a     de    novo

             determination of those portions of the report or specified proposed

             findings or recommendations to which objection is made," 28 U.S.C.

             §    636 (b) (1), and "give fresh consideration to those issues to which

             specific objection has been made," Jeffrey S. v. State Bd. of Educ.

             of Ga., 896 F.2d 507, 512 (11th Cir. 1990) (internal quotation marks

             and citation omitted) .

                     In short:     Mr. Ayala-Castaneda rehashes the same arguments in

             his thirteen-page objections [Doc. No. 162] that he earlier made in

             his     forty-page     motion       and       brief    [Doc.    157]       and    twelve-page


                  lMacort addressed only the standard of review applied to a
             magistrate judge's factual findings; however, the Supreme Court has
             held that there is no reason for the district court to apply a
             different standard of review to a magistrate judge's legal
             conclusions.   Thomas v. Arn, 474 U.S. 140, 150 (1985).        Thus,
             district courts in this circuit have routinely applied a clear-error
             standard to both.   See Tauber v. Barnhart, 438 F. Supp. 2d 1366,
             1373-74 (N.D. Ga. 2006) (collecting cases) .

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             supplement [Doc. 159].        Those arguments are already addressed in

             the Final R&R,    and Ayala-Castaneda has identified no factual or

             legal errors in the Final R&R.            Having reviewed de novo all of

             those portions of the Final R&R to which Ayala-Castaneda raised

             specific     objections,    the   Court    finds       that   Magistrate    Judge

             Scofield's factual and legal conclusions were correct with respect

             to the issues that Ayala-Castaneda raised in his              §   2255 motion, as

             supplemented,    and   that   Ayala-Castaneda' s         obj ections   should   be

             overruled.

                  The Final R&R [Doc. 158] is hereby APPROVED AND ADOPTED as the

             Order of this Court.       Ayala-Castaneda's       §   2255 motion is DENIED.

                  Because Ayala-Castaneda has not demonstrated that he has been

             denied a     constitutional right    or that       the    issue    is, reasonably

             debatable, a certificate of appealability is DENIED.

                  SO ORDERED, this e~r) day of February, 2013.



                                           ORINDA D. EVANS
                                           UNITED STATES DISTRICT JUDGE




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